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DEC 18 2018
IN THE UNITED STATES DISTRICT COURT |

CLERK OF DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA CLERK OF DISTRICT COURT

UNITED STATES OF AMERICA, ) Criminal No. 1:18-CR-00080
)
v. ) INDICTMENT
)
KENNETH JAY STILL, ) T. 18 U.S.C. §§ 922(g)(1), ()(9)
) T. 18 U.S.C. §8 924(a)(2), (d)
Defendant. ) T. 28 U.S.C. § 2461(c)
THE GRAND JURY CHARGES:
COUNT 1

(Prohibited Person in Possession of a Firearm)
On or about October 6, 2018, in the Southern District of lowa, the Defendant, KENNETH
JAY STILL, having been convicted of a crime with a potential term of imprisonment exceeding
one year, and having been convicted of a misdemeanor crime of domestic violence, did knowingly
possess, in and affecting interstate commerce, to wit: a Mossberg Model 835, 12-gauge shotgun
(serial number: UM158809), and ammunition.
This is a violation of Title 18, United States Code, Sections 922(g)(1), 922(g)(9) and

924(a)(2).

THE GRAND JURY FINDS:
Notice of Forfeiture
Upon conviction for the offenses alleged in this Indictment, the defendant shall forfeit to
the United States, pursuant to Title 18, United States Code, Section 924(d), and Title 28, United

States Code, Section 2461(c), the firearm, a Mossberg Model 835, 12-gauge shotgun (serial

 
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number: UM158809), and ammunition, involved in the commission of the offenses charged in this

Indictment.

A TRUE BILL.

 

BOREPERSON

Mare Krickbaum
United States Attorney

  
    

Michael B. Difffy ¢/

Assistant United States Attorney

 
